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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

LAMOR WHITEHEAD,                                               Docket No. 2:22-cv-6517

                               Plaintiff,                      NOTICE OF REMOVAL
               - against –

GRANT & WEBER, INC.,

                               Defendant.



TO THE CLERK OF THE COURT:

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

Defendant Grant & Weber, Inc. (“Defendant”) hereby gives notice of the removal of this action

from the Supreme Court of the State of New York, County of Suffolk, where it is now pending,

to the United States District Court for the Eastern District of New York. In support of this

Notice of Removal, Defendant states that:

       1.      On September 30, 2022, Plaintiff filed a Summons and Verified Complaint in this

action styled Lamor Whitehead v. Grant & Weber, Inc., bearing Index No. 202010/2022 before

the Supreme Court of the State of New York, County of Suffolk. Pursuant to 28 U.S.C. §1446(a),

copies of all process, pleadings, and orders served upon Defendant in the state court action are

annexed hereto as Exhibit A.

       2.      Defendant first received notice of this lawsuit when it was served with the

Summons and Verified Complaint on October 7, 2022.

       3.      The Summons and Verified Complaint alleges, in sum and substance, that the

Defendant violated the Federal Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq., and

also appears to allege claims for negligence, negligence per se, and libel. Accordingly, this action


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may be removed pursuant to 28 U.S.C. § 1441 as this Court has federal question jurisdiction

under 28 U.S.C. §1331. Additionally, the Court has supplemental jurisdiction over any state law

claims pursuant to 28 U.S.C. § 1367.

       4.      Plaintiff’s Complaint alleges that Defendant attempted to collect from Plaintiff

$28,130, and that Defendant falsely reported to a consumer reporting agency that Plaintiff is

liable to Defendant for $28,130. See Exhibit A, Complaint, ¶¶5-7. Plaintiff’s Complaint alleges

Defendant’s conduct “caused Plaintiff costs, attorney’s fees and emotional distress.” Id. ¶10.

Among other things, Plaintiff’s Complaint seeks actual damages, statutory damages, and punitive

damages. Id. ¶13.

       5.      This Notice of Removal is timely filed within thirty (30) days after Defendant

first received a copy of the initial pleadings setting forth the claims for relief and existence of

federal questions jurisdiction. 28 U.S.C. §1446(b); See Boone v. Thane, 07-CV-4358

(SLT)(VVP), 2009 WL 910556 at *2 (E.D.N.Y. March 31, 2009); citing Fernandez v. Hale

Trailer Brake & Wheel, 332 F.Supp.2d 621, 624 (S.D.N.Y. 2004).

       6.      A civil cover sheet accompanies this Notice of Removal.

       7.      Written notice of this Notice of Removal will be filed in the Supreme Court of the

State of New York, County of Suffolk.

       WHEREFORE, Defendant Grant & Weber, Inc. respectfully requests that this action be

removed from the Supreme Court of the State of New York, County of Suffolk to the United

States District Court for the Eastern District of New York.




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Dated: New York, New York
       October 27, 2022

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